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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ARTHUR CARSON,                                  §
         Plaintiff,                             §
                                                §
v.                                              §           3:10-CV-1523-G (BK)
                                                §
OFFICER KELLY, et al.,                          §
          Defendants.                           §           Referred to U.S. Magistrate Judge
                                                            for Pretrial Management


                                            ORDER

       On November 3, 2010, the court recommended that this case be dismissed for want of

prosecution because Plaintiff had failed to respond to the magistrate judge’s supplemental

questionnaire filed September 21, 2010. In his objections filed November 23, 2010, Plaintiff

states that he did not receive the supplemental questionnaire. He, thus, requests an extension of

time to respond.

       IT IS ORDERED that the November 3, 2010, findings, conclusions and recommendation

(Doc. #10) is VACATED, and that Plaintiff is GRANTED twenty-one (21) days from the date

of this order to respond to the magistrate judge’s supplemental questionnaire.

       The Clerk will MAIL to Plaintiff a second copy of the magistrate judge’s supplemental

questionnaire filed September 21, 2010 (Doc. #9).

       SIGNED November 29, 2010.




                                             ________________________________________
                                             RENÉE HARRIS TOLIVER
                                             UNITED STATES MAGISTRATE JUDGE
